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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT FRANKFORT

 MID-AMERICA MILLING COMPANY,                  )
 LLC, et al.,                                  )
                                               )
        Plaintiffs,                            )
                                               )
                v.                             ) Case No. 3:23-cv-00072-GFVT-EBA
                                               )
 UNITED STATES DEPARTMENT OF                   )
 TRANSPORTATION, et al.,                       )
                                               )
 Defendants.


               NOTICE OF INTENT TO FILE RESPONSE IN OPPOSITION

       Intervenor DBEs—National Association of Minority Contractors, Women First National

Legislative Committee, Airport Minority Advisory Council, the Illinois Chapter of Women

Construction Owners & Executives, Atlantic Meridian Contracting Corp., and Upstate Steel,

Inc.—respectfully submit this Notice of their intent to file, pursuant to LR 7.1(c), a Response in

Opposition to the Joint Motion for Entry of Consent Order filed by Plaintiffs and Defendants on

May 28, 2025. ECF No. 82. On May 21, 2025, this Court granted Intervenor DBEs’ Motion to

Intervene. ECF No. 78. The movants who filed the Joint Motion did not consult Intervenor DBEs

prior to filing same. See ECF No. 82 at 2.

       Intervenor DBEs intend to file their Response in Opposition within the time frame set out

in LR 7.1(c)—i.e., on or before June 18, 2025.




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Dated: May 29, 2025                              Respectfully submitted,

                                                 /s/ Brooke Menschel
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                                   CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5(d)(1)(B), service of the foregoing and

accompanying proposed order is made on all parties of record through the Court’s electronic

service system.

Dated: May 29, 2025                         /s/ Brooke Menschel
                                            Brooke Menschel
                                            Counsel for Intervenor DBEs
